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Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 15

    Three Arrows Capital Ltd, 1                               Case No. 22-10920 (MG)

              Debtor in a Foreign Proceeding.


                                       CERTIFICATE OF SERVICE

             I, Christopher M. Tarrant, certify that:

             1.       I am employed by the law firm Latham & Watkins LLP at 1271 Avenue of the

Americas, New York, New York 10020, attorneys for Russell Crumpler and Christopher Farmer

as Foreign Representatives.




1
    The last four digits of the Debtor’s British Virgin Islands company registration number are 0531. The location of
    the Debtor’s registered office is ABM Chambers, P.O. Box 2283, Road Town, Tortola, VG1110, British Virgin
    Islands.
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       2.      On December 6, 2022, my colleagues and I caused true and correct copies of the

following documents to be served in the manner indicated in the service list attached hereto as

Exhibit A:

   x   Order Granting Certain Discretionary Relief Pursuant To 11 U.S.C. §§ 1521(A), (B) And
       1522 (ECF No. 69);
   x   Order Granting Foreign Representative's Motion for Authorization to File Under Seal (I)
       Foreign Representatives' Motion for Entry of an Order (A) Authorizing Issuance of
       Subpoenas and (B) Granting Related Relief, (II) Foreign Representatives' Motion for Entry
       of an Order Authorizing Alternative Service of Process, and (III) Declaration of Russell
       Crumpler (ECF No. 70);
   x   Order Granting (A) Authorizing Issuance of Subpoenas and (B) Granting Related
       Relief (ECF No. 71); and
   x   Order Approving Cross-Border Court-To-Court Communications Protocol (ECF No. 72).

       3.      On December 6, 2022, my colleagues and I caused true and correct copies of the

following documents to be served in the manner indicated in the service list attached hereto as

Exhibit B:

   x   Order Granting Certain Discretionary Relief Pursuant To 11 U.S.C. §§ 1521(A), (B) And
       1522 (ECF No. 69);
   x   Order Granting Foreign Representative's Motion for Authorization to File Under Seal (I)
       Foreign Representatives' Motion for Entry of an Order (A) Authorizing Issuance of
       Subpoenas and (B) Granting Related Relief, (II) Foreign Representatives' Motion for Entry
       of an Order Authorizing Alternative Service of Process, and (III) Declaration of Russell
       Crumpler (ECF No. 70);
   x   Order Granting (A) Authorizing Issuance of Subpoenas and (B) Granting Related
       Relief (ECF No. 71); and
   x   Order Approving Cross-Border Court-To-Court Communications Protocol (ECF No. 72).


Dated: December 6, 2022                        /s/ Christopher M. Tarrant
       New York, NY                            Christopher M. Tarrant




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